                                              United States Attorney
                                              Northern District of California



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                                             November 22, 2017

Via E-Mail Only
The Honorable William Alsup
United States District Court
Northern District of California
450 Golden Gate Avenue
San Francisco, CA 94102
Dawn_Toland@cand.uscourts.gov

                              Re: Waymo v. Uber, 17-CV-0939-WA

Your Honor,

In the course of a United States’ pending criminal investigation, the government interviewed a
former Uber employee named Richard Jacobs. Mr. Jacobs informed the government that shortly
after the Uber/Otto acquisition, Ed Russo (an Uber employee in the Strategic Services Group
(“SSG”)) gave a presentation in which he described a hypothetical scenario in which Uber’s SSG
could arrange to have two CEOs meet covertly for a long period of time prior to an acquisition of
one company by another. Mr. Jacobs and other Uber employees believed that this “hypothetical”
scenario was in fact a recounting of efforts taken by SSG to protect meetings between Travis
Kalanick and Anthony Levandowski.

Mr. Jacobs further stated that Uber employees routinely used non-attributable electronic devices
to store and transmit information that they wished to separate from Uber’s official systems. He
surmised that any wrongfully-obtained intellectual property could be stored on such devices, and
that such action would prevent the intellectual property from being discovered in a review of
Uber’s systems.

Mr. Jacobs’ attorney laid out the substance of these allegations in a May 5, 2017, letter to Angela
Padilla, Uber’s associate general counsel. Mr. Jacobs statements to the government were
consistent with the allegations set forth in the letter.
November 22, 2017
Letter to Hon. William Alsup
Re: Waymo v. Uber, 17-CV-0939
Page 2 of 2

The government provides this information to the Court with the understanding that the Court will
likely disclose it to the parties to the civil matter. If so, the government requests that this
information be subject to the existing protective order in the case.


                                                   Very Truly Yours,


                                                   ALEX G. TSE
                                                   Acting United States Attorney

                                                   /s/

                                                   MATTHEW A. PARRELLA
                                                   AMIE D. ROONEY
                                                   Assistant United States Attorneys
